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_________________________________________________________________________________

                                               SO ORDERED,



                                               Judge Jason D. Woodard
                                               United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________



             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI


IN THE MATTER OF:                                        CHAPTER 13 CASE NO.:

KELLY L. LINVILLE                                        19-12333-JDW

                   AGREED ORDER SUSTAINING
   OBJECTION TO CONFIRMATION OF FIRST AMENDED PLAN (DKT. #13)

      THIS CAUSE came to be heard on the Objection to Confirmation of First

Amended Plan (Dkt. #13) (the “Objection”) filed by Locke D. Barkley, Chapter 13

Trustee (the “Trustee) and the Court having been advised that the parties have

reached an agreement with respect to the Objection and that they desire to

memorialize their agreement in this Agreed Order, the Court finds that the

agreement of the parties is appropriate and should be set forth herein. The Court

does hereby order and adjudicate as follows:

      1.     The Objection shall be and is hereby sustained.

      2.     Confirmation of the Debtor’s First Amended Chapter 13 Plan (Dkt.

#10) shall be and is hereby denied.

      3.     This case shall be and is hereby dismissed.
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                              ##END OF ORDER##

AGREED & APPROVED:

/s/ Melanie T. Vardaman
MELANIE T. VARDAMAN
ATTORNEY FOR TRUSTEE

/s/ Jimmy E. McElroy
JIMMY E. McELROY
ATTORNEY FOR DEBTOR




                                                         Prepared by:
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